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             UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MINNESOTA

United States of America

              v.                                SENTENCING NOTICE
                                               Case Number Crim. 12-295(1) PAM
Eric Wade Forcier



       (x) TAKE NOTICE That a proceeding in this case has been set for the place, date
and time set forth below:

                                Courtroom #7D (7th Floor)
                                 316 North Robert Street
                                St. Paul, Minnesota 55101

Before the Honorable Paul A. Magnuson on Tuesday, July 16, 2013 @ 10:00 AM for
sentencing.




                                               RICHARD SLETTEN, CLERK
Dated: June 25, 2013
                                               s/Suzanne M. Ruiz
                                               Suzanne M. Ruiz, Calendar Clerk

cc:    Allen Slaughter - A.U.S.A.
       Kyle D. White
       U.S. Marshal
       U.S. Probation
